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UNITED STATES DISTRICT COURT

THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA CASE NO. 1:23-mj-00021-ZMF
Vv.
AUSTIN BRENDLEN HARRIS
Defendant.
/

 

WAIVER OF SPEEDY TRIAL

Ihave been advised of my rights toa speedy trial under the Speedy Trial Act, 18
US.C. § 3161. I hereby waive my right to a speedy trial under the Act. I understand the
period of the continuance will be excluded from computations of time for the purposes of
the Speedy Trial Act.

Austin Hare's
FPL

Defendant
Date: 3 -/4- 2.3 _
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Printed Name of Atoms <r

Counsel for Defendant —
Date: Z— (3-2 2

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on May 15, 2023, a true and correct copy of the
foregoing was furnished by using the CM/ECF system with the Clerk of the Court, which
will send notice of the electronic filing to all interested parties, including the Office of the
United States Attorney.

Respectfully submitted,
Suarez, Rios & Weinberg, P.A.
Attorney for Defendant

265 E Marion Ave., Ste 114
Punta Gorda, FL 33950
Telephone: (941) 575-8000
Facsimile: (941) 575-8888

E-mail: Scott@bsrlegal.com

By /s/ Seott Weinberg

 

Scott Weinberg
